           Case 3:16-cv-00678-MPS Document 337-4 Filed 12/11/18 Page 1 of 2

                                               EXHIBIT D
                                    UNITED STATES DISTRICT COURT
                                      DISTRICT OF CONNECTICUT

ELIYAHU MIRLIS,

           Plaintiff,                                            No. 3:16-cv-00678 (MPS)
v.

DANIEL GREER, ET AL.

           Defendants.

                   ORDER GRANTING MOTION TO MODIFY DESIGNATIONS

           Upon the Motion to Modify Designations (the “Motion”) filed by the plaintiff and

judgment creditor, Eliyahu Mirlis (“Plaintiff”), seeking the modification of materials designated

“Confidential” by the defendants and judgment debtors, Daniel Greer and the Yeshiva of New

Haven, Inc. (together, “Defendants”) pursuant to the Protective Order, 1 having come before the

Court and there being due and sufficient cause to grant the relief requested therein, it is hereby

ORDERED,

           1.       That the Motion is in all respects GRANTED;

           2.       To the extent that any Designated Information constitutes an operative fact, forms

the basis for an operative fact, or is relevant to a pleading, including any amendments thereto,

and/or dispositive motion (e.g., a motion for summary judgment), such Designated Information

shall not be deemed Confidential and would not have to be redacted in any such pleading or

motion filed with any court. Filing such pleading or motion would not be a violation of the

Protective Order. However, any Designated Material attached to such pleadings or motions shall

be filed under seal. In addition, any social-security number, taxpayer-identification number, birth




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    Capitalized terms not defined herein shall have the same meaning as in the Motion, unless otherwise indicated.
        Case 3:16-cv-00678-MPS Document 337-4 Filed 12/11/18 Page 2 of 2



date, the name of an individual known to be a minor, or a financial-account number shall be

redacted in accordance with Fed. R. Civ. P. 5.2(a), unless publicly available;

       3.      Any information regarding the Related Entities, or any other individual or entity

that is publicly available is not confidential and may be used in court filings;

       4.      Designated Information about the Related Entities that is an operative fact, forms

the basis for an operative fact, or is relevant to a pleading, including any amendments thereto,

and/or dispositive motion (e.g., a motion for summary judgment) shall not be deemed

Confidential and would not have to be redacted in any such pleading or motion filed with any

court. Filing such pleading or motion would not be a violation of the Protective Order, but any

Designated Material attached to such pleadings or motions shall be filed under seal;

       5.      The names of specific employees of the Related Entities along with any

confidential financial information about said employees, including but not limited to their

compensation and any tax information, shall remain Confidential and shall be redacted from any

Court filing, except (1) to the extent that the information is publicly available; and/or (2) the

names of Daniel Greer and Sarah Greer shall not be redacted; and

       6.      To the extent that the terms of this Order conflict with the terms of the Protective

Order, this Order shall be controlling.




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